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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 HOWARD YOUNG,

               Plaintiff,                       Civil No. 1:24-cv-01023

      v.                                        Hon. Jennifer P. Wilson


 UNITED PARCEL SERVICE, INC.

                       Defendant.




                             STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, Howard Young, and Defendant,

United Parcel Service, Inc., hereby stipulate and agree that this action is DISMISSED WITH

PREJUDICE and without an award of costs or fees to any party.
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Respectfully submitted,

DATED:        April 30, 2025              DATED:         April 30, 2025

By: /s/Michael J. Bradley                 By: /s/ Allison L. Goico

Michael J. Bradley                        Allison L. Goico (admitted pro hac vice)
Weisberg Cummings, P.C.                   Dinsmore & Shohl LLP
2704 Commerce Drive Suite B               255 E. Fifth Street, Suite 1900
Harrisburg, PA 17110                      Cincinnati, Ohio 45202
Telephone: (717) 238-5707                 Telephone: (513) 977-8613
Counsel for Plaintiff                     Facsimile: (513) 977-8141

                                          Andrew N. Howe (56337)
                                          Dinsmore & Shohl LLP
                                          100 Berwyn Park, Suite 110
                                          850 Cassatt Road
                                          Berwyn, Pennsylvania 19312
                                          Telephone: (610) 408-6020
                                          Facsimile: (610) 408-6021

                                          Rudy J. Ellis III (admitted pro hac vice)
                                          Dinsmore & Shohl, LLP
                                          101 S. Fifth Street, Suite 2500
                                          Louisville, Kentucky 40202
                                          Telephone: (502) 540-2577
                                          Facsimile: (502) 585-2207
                                          Counsel for Defendant




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